                    IN THE UNITED STATES DISTRICT COURT FOR THE
                            WESTERN DISTRICT OF MISSOURI
                                 WESTERN DIVISION

UNITED STATES OF AMERICA,                       )
                                                )
       Plaintiff,                               )
                                                )
            v.                                  )      Criminal Action No.
                                                )      14-00287-01-CR-W-DGK
ERIC L. PRICE,                                  )
                                                )
       Defendant.                               )

                           ACCEPTANCE OF PLEA OF GUILTY
                            AND ADJUDICATION OF GUILT

       Pursuant to the Report and Recommendation of United States Magistrate Judge Robert E.

Larsen (Doc. 44), to which there has been no timely objection, the plea of guilty by the Defendant

to Count Three of the Indictment filed on October 7, 2014, is now accepted and the Defendant is

adjudged guilty of such offense. Sentencing will be set by subsequent order of the Court.



                                                        /s/ Greg Kays
                                                       GREG KAYS, CHIEF JUDGE
                                                       UNITED STATES DISTRICT COURT

Kansas City, Missouri
June 3, 2015




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